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THE NITED STATES COURT OF APPEALS
FOR THE FIFTH CIRCUIT

CLERK U.S. DISTRICT C`On 'l`
By ¢/ 1

   

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‘»....,__--/‘”'/ NO. 16-10501

UNITED STATES OF AMERICA,

 

Plaintiff - Appellee

A True Copy l

V Certii"led order issued Sep 23, 2016

JUAN ANTHONY REYES, JR., Clerk d`l:p.‘w Court of peals, Fifth Circuit

Defendant - Appellant

 

Appeal from the United States District Court for the
Northern District of Texas, Lubbook

 

CLERK'S OFFICE:

Under 5TH CIR. R. 42.3, the appeal is dismissed as of September 23, 2016,
for Warlt of prosecution The appellant failed to timely pay docketing fee.

LYLE W. CAYCE
Clerk of the United States Court
of Appeals for the Fifth Circuit

/Lv\ M/--~-

Shawn D. Henderson, Deputy Clerk

 

ENTERED AT THE DIRECTION OF THE COURT

Case 5:05-Cr-OOO83-C Document 109 Filed 09/23/16 Page 2 of 2 Page|D 389

Uniled States Court of Appeals
FIFTH CIRCUIT
OFFICE OF THE CLERK
LYLE W. CAYCE 'I`EL. 504-310-7700

CLERK 600 S. MAESTRI PLACE
NEW ORLEANS, LA 70130

September 23, 2016

Ms. Karen S. Mitchell

Northern District of Texas, Lubbock
United States District Court

1205 Texas Avenue

Room C-209

Lubbock, TX 79401

No. 16-10501 USA v. Juan Reyes, Jr.
USDC No. 5:05-CR-83~2

Dear Ms. Mitchell,

Enclosed is a copy of the judgment issued as the mandate.

Sincerely,

LYLE W. CAYCE, Clerk

ByjAI\/;M/',

Shawn D. Henderson, Deputy Clerk
504-310~7668

 

cc w/encl:
Mr. James Wesley Hendrix
Mr. Juan Anthony Reyes Jr.
Ms. Leigha Amy Simonton

